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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                               CINCINNATI DIVISION


    MICHAEL HAFLEY and CHRISTOPHER
    MCCAW, on behalf of themselves and all
    others similarly situated,                     No. 21 Civ. 203 (TSB)

                          Plaintiffs,

           -against-

    AMTEL, LLC,

                          Defendant.

                   ORDER GRANTING AMENDED JOINT MOTION
                       FOR STAY PENDING MEDIATION

       Having reviewed and considered the parties’ Amended Joint Motion for a Stay Pending

Mediation, it is hereby ORDERED on this 21 day of June, 2022 that:

   1. The Motion is GRANTED in full;

   2. The Court further ORDERS that:

          a. This case is stayed without a date in contemplation of mediation;

          b. The statute of limitations for Fair Labor Standards Act claims of Ohio Store

              Managers at Amtel, LLC will be tolled from the Court’s March 18, 2022 Order,

              Dkt. No. 34, through the pendency of the stay; and

          c. The parties shall submit a joint status update to the Court by August 2, 2022.

              IT IS SO ORDERED.

Date: _______________________
         6/24/2022

                                           ______________________________________
                                                   s/Timothy S. Black
                                                    Hon. Timothy S. Black
                                                  United States District Court Judge
